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                                                                      1   COHEN JOHNSON PARKER EDWARDS
                                                                          H. STAN JOHNSON, ESQ.
                                                                      2   Nevada Bar No.: 00265
                                                                          sjohnson@cohenjohnson.com
                                                                      3
                                                                          RYAN D. JOHNSON, ESQ.
                                                                      4   Nevada Bar No.: 14724
                                                                          375 E. Warm Springs Rd. Ste 104
                                                                      5   Las Vegas, NV 89119
                                                                          Telephone: (702) 823-3500
                                                                      6   Facsimile: (702) 823-3400
                                                                      7   Attorneys for Expeditors International of Washington, Inc.

                                                                      8
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                      9
                                                                                                            FOR THE DISTRICT OF NEVADA
                                                                     10
                                                                          In re
COHEN JOHNSON PARKER EDWARDS




                                                                     11                                                           Case No.: BK-S-18-14683-LEB
                                                                          GUMP’s HOLDINGS, LLC et al.                             Chapter 11
                                                                     12
                                                                                                  Debtors                         Joint Administered With:
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                                                                                  No. BK-S-14684 (In re Gump’s Corp.)
                                                                                                                                  No. BK-S-14685 (In re Gump’s By Mail, Inc.)
                                      Las Vegas, Nevada 89119




                                                                     14
                                                                                  Affects this Debtor.
                                                                     15           Affects all Debtors
                                                                                  Affects Gump’s Corp.
                                                                     16           Affects Gump’s By Mail, Inc.
                                                                     17
                                                                              ATTORNEY INFORMATION SHEET IN SUPPORT OF EX PARTE APPLICATION
                                                                     18               FOR ORDER SHORTENING TIME TO HEAR MOTIONS

                                                                     19
                                                                                   As required by Local Rule1 9006, H. Stan Johnson, Esq. and Ryan D. Johnson, Esq. of
                                                                     20
                                                                          COHEN JOHNSON PARKER EDWARDS, counsel for Creditor Expeditors International of
                                                                     21
                                                                          Washington, Inc., (“Expeditors”) has contacted the parties listed below regarding the proposed
                                                                     22
                                                                          order shortening time to hear Expeditors’ Motion by Expeditors International of Washington,
                                                                     23

                                                                     24   Inc. for Adequate Protection and for Relief from the Automatic Stay.

                                                                     25

                                                                     26   1
                                                                            Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the
                                                                          “Bankruptcy Code”); all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure;
                                                                     27   and all references to “Local Rule” are to the Local Rules of Bankruptcy Practice for the U.S. District Court
                                                                          for the District of Nevada.
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                                                                      1            As required by rule 4001, counsel have attempted in good faith regarding resolution of

                                                                      2   the motion before filing this motion for relief from stay. These attempts took place more than
                                                                      3
                                                                          three business days before Expeditors Motion was filed. See § 362 form attached to Expeditors
                                                                      4
                                                                          Motion.
                                                                      5
                                                                                   The parties listed below agree and disagree to the time being shortened, as indicated
                                                                      6
                                                                          below:
                                                                      7

                                                                      8                           Name                            Date Contacted        Agree      Disagree
                                                                      9
                                                                           Edward M. McDonald                                     August 30,2018          X
                                                                     10    For the Office of the United States Trustee for the
                                                                           District of Nevada
COHEN JOHNSON PARKER EDWARDS




                                                                     11
                                                                           Elizabeth E. Stephens and Steven E. Fox                August 30, 2018         X
                                                                     12    For Contractual Joint Venture Formed by Hilco
                                                                           Merchant Resources, LLC and Gordon Brothers
                               375 E. WARM SPRINGS RD., Ste. 104




                                                                     13
                                (702) 823-3500 FAX: (702) 823-3400




                                                                           Retail Partners, LLC
                                      Las Vegas, Nevada 89119




                                                                     14    Gabrielle A. Hamm, Mark M. Weisenmiller,               August 30, 2018                     X
                                                                           and William M. Noall
                                                                     15    For Gump’s Holdings, LLC; Gump’s by Mail,
                                                                           Inc.; Gump’s Corp.
                                                                     16
                                                                           Bart K. Larsen, James Patrick Shea, and                August 30, 2018                     X
                                                                     17    Judith W. Ross
                                                                           For Sterling Business Credit, LLC
                                                                     18
                                                                           Bryan A. Lindsey Connor H. Shea, and                   August 30, 2018                     X
                                                                     19    Samuel A. Schwartz
                                                                           For The official Committee of Unsecured
                                                                     20
                                                                           Creditors
                                                                     21    Michael St. James                                      August 30, 2018         X
                                                                           For Seaker & Sons
                                                                     22

                                                                     23

                                                                     24   DATED: September 6th, 2018
                                                                     25
                                                                                                                        COHEN JOHNSON PARKER EDWARDS
                                                                     26                                                     /s/ H. Stan Johnson______________
                                                                                                                            H. STAN JOHNSON, ESQ.
                                                                     27                                                     Nevada Bar No.: 00265
                                                                                                                            RYAN D. JOHNSON, ESQ.
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                                                                      1                                               Nevada Bar No.: 14724
                                                                                                                      375 E. Warm Springs Rd. Ste 104
                                                                      2                                               Las Vegas, NV 89119
                                                                                                                      Attorneys for Creditors Expeditors
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                                                                                                                      International of Washington, Inc.
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COHEN JOHNSON PARKER EDWARDS




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                               375 E. WARM SPRINGS RD., Ste. 104




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                                (702) 823-3500 FAX: (702) 823-3400
                                      Las Vegas, Nevada 89119




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